                    Case 23-60873            Doc 1       Filed 08/11/23 Entered 08/11/23 12:28:37                              Desc Main
                                                           Document     Page 1 of 69

Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF VIRGINIA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                BRNURSCO, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  c/o Suzanne Roski, Receiver
                                  7229 Forest Avenue, Suite 102
                                  Richmond, VA 23226
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Martinsville City                                               Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    BRNURSCO, LLC                                                                                Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 6231

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
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Debtor    BRNURSCO, LLC                                                                                   Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor      BRVA Properties, LLC                                          Relationship               Affiliate
                                                                 Western District of
                                                     District    Virginia             When              8/11/23                Case number, if known      23-60872


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                              50-99                                            5001-10,000                                 50,001-100,000
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion



Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor   BRNURSCO, LLC                                                               Case number (if known)
         Name


16. Estimated liabilities     $0 - $50,000                               $1,000,001 - $10 million             $500,000,001 - $1 billion
                              $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor    BRNURSCO, LLC                                                                            Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      August 11, 2023
                                                  MM / DD / YYYY


                             X /s/ Suzanne Roski                                                          Suzanne Roski
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Receiver




18. Signature of attorney    X /s/ Andrew S. Goldstein                                                     Date August 11, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Andrew S. Goldstein
                                 Printed name

                                 Magee Goldstein Lasky & Sayers, P.C.
                                 Firm name

                                 Post Office Box 404
                                 Roanoke, VA 24003-0404
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (540) 343-9800                Email address      agoldstein@mglspc.com

                                 28421 VA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         BRNURSCO, LLC

United States Bankruptcy Court for the:     WESTERN DISTRICT OF VIRGINIA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       August 11, 2023                 X /s/ Suzanne Roski
                                                           Signature of individual signing on behalf of debtor

                                                            Suzanne Roski
                                                            Printed name

                                                            Receiver
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                                                  Document     Page 7 of 69
 Fill in this information to identify the case:

 Debtor name            BRNURSCO, LLC

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF VIRGINIA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           119,501.29

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           119,501.29


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        1,826,000.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            55,506.43

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        7,366,757.78


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           9,248,264.21




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
                 Case 23-60873              Doc 1     Filed 08/11/23 Entered 08/11/23 12:28:37                                 Desc Main
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Fill in this information to identify the case:

Debtor name         BRNURSCO, LLC

United States Bankruptcy Court for the:      WESTERN DISTRICT OF VIRGINIA

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number
                   First Horizon Bank Checking Account
                   Account shared with BRVA Properties,
                   LLC; BRALFCO, LLC; and Sovran
          3.1.     Senior Living LLC                                                                       8840                                  $111,001.29



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                   $111,001.29
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.


Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.

11.       Accounts receivable




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                        page 1
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Debtor       BRNURSCO, LLC                                                                  Case number (If known)
             Name


          11b. Over 90 days old:                    1,239,040.00       -                        1,239,040.00 =....                             $0.00
                                      face amount                             doubtful or uncollectible accounts



12.       Total of Part 3.                                                                                                                  $0.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.


Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                              Net book value of         Valuation method used     Current value of
          Include year, make, model, and identification numbers            debtor's interest         for current value         debtor's interest
          (i.e., VIN, HIN, or N-number)                                    (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.   Starcraft Van                                                           $0.00      Debtor Estimate                      $8,500.00



48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                           page 2
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Debtor        BRNURSCO, LLC                                                                Case number (If known)
              Name


51.        Total of Part 8.                                                                                                $8,500.00
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
              No
              Yes

53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                             page 3
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Debtor          BRNURSCO, LLC                                                                                       Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                          $111,001.29

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                        $8,500.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                            $119,501.29           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $119,501.29




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 4
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Fill in this information to identify the case:

Debtor name          BRNURSCO, LLC

United States Bankruptcy Court for the:            WESTERN DISTRICT OF VIRGINIA

Case number (if known)
                                                                                                                                            Check if this is an
                                                                                                                                            amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                  Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                              that supports this
                                                                                                                  Do not deduct the value     claim
                                                                                                                  of collateral.
       Omega Healthcare
2.1                                                                                                                    $1,826,000.00               $111,001.29
       Investors                                    Describe debtor's property that is subject to a lien
       Creditor's Name                              First Horizon Bank Checking Account
                                                    Account shared with BRVA Properties, LLC;
                                                    BRALFCO, LLC; and Sovran Senior Living
       303 International Circle,                    LLC
       Suite 200                                    Acct# 8840
       Cockeysville, MD 21030
       Creditor's mailing address                   Describe the lien
                                                    Promissory Note
                                                    Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known               Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                          No
       06/28/2019                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       Unknown
       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
           No                                          Contingent
           Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.



                                                                                                                        $1,826,000.0
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                   0

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 1
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Fill in this information to identify the case:

Debtor name        BRNURSCO, LLC

United States Bankruptcy Court for the:          WESTERN DISTRICT OF VIRGINIA

Case number (if known)
                                                                                                                                                      Check if this is an
                                                                                                                                                      amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                        Total claim           Priority amount

2.1       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                  $55,506.43         $55,506.43
          City of Martinsville, Treasurer                      Check all that apply.
          55 W Church Street, Room 101                            Contingent
          Martinsville, VA 24112                                  Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:
          2018-2021                                            Personal Property Taxes

          Last 4 digits of account number 8774                 Is the claim subject to offset?

          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                        $21.00
          Accurate Healthcare Inc.                                               Contingent
          493 Cave Road                                                          Unliquidated
          Nashville, TN 37210
                                                                                 Disputed
          Date(s) debt was incurred 2019 or prior
                                                                             Basis for the claim: Unknown
          Last 4 digits of account number Unknown
                                                                             Is the claim subject to offset?           No   Yes

3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                            $1.00
          Ad Art                                                                 Contingent
          PO Box 40                                                              Unliquidated
          Bassett, VA 24055
                                                                                 Disputed
          Date(s) debt was incurred 2019 or prior
                                                                             Basis for the claim: Unknown
          Last 4 digits of account number Unknown
                                                                             Is the claim subject to offset?           No   Yes




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3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $10,956.00
         Advantage Healthcare LLC                                     Contingent
         8108 Hunters Trail                                           Unliquidated
         Roanoke, VA 24019-6803
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $1.00
         All About You Senior Care LLC                                Contingent
         912 Brookdale Street, Suite 1                                Unliquidated
         Martinsville, VA 24112
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $1.00
         Alliance One, LLC                                            Contingent
         (Global Staffing Services LLC)                               Unliquidated
         PO Box 152
                                                                      Disputed
         Brattleboro, VT 05301
                                                                   Basis for the claim: Unknown
         Date(s) debt was incurred 2019 or prior
         Last 4 digits of account number Unknown                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $1.00
         Anthem Blue Cross & Blue Shield                              Contingent
                                                                      Unliquidated
         2015 Staples Mill Road
                                                                      Disputed
         Richmond, VA 23230
                                                                   Basis for the claim: Unknown
         Date(s) debt was incurred 2019 or prior
         Last 4 digits of account number Unknown                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $1.00
         Anthros                                                      Contingent
         400 West Morse Blvd., Suite 203                              Unliquidated
         Winter Park, FL 32789
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $1.00
         Ashley-Mcgee Corp                                            Contingent
         23 Henry Street                                              Unliquidated
         Martinsville, VA 24112
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $224.00
         Bassett Office Supply                                        Contingent
         PO Box 558                                                   Unliquidated
         Bassett, VA 24055
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes




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3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Berger and Burrow Enterprises                                Contingent
         6015 Staples Mil Road                                        Unliquidated
         Henrico, VA 23228
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Blue Ridge Behavioral Healthcare                             Contingent
         301 Elm Ave., SW                                             Unliquidated
         Roanoke, VA 24016
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Bone & Joint Center of Martinsville                          Contingent
         319 Hospital Drive                                           Unliquidated
         Martinsville, VA 24112-1928
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Briggs Corporation                                           Contingent
         7300 Westown Pkwy                                            Unliquidated
         West Des Moines, IA 50266
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Brighter Day Health LLC                                      Contingent
         4242 Medical Drive, Suite 7100                               Unliquidated
         San Antonio, TX 78229-5397
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Capital Premium Financing Inc.                               Contingent
         12235 S 800 E                                                Unliquidated
         Draper, UT 84020
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Carilion Medical Center                                      Contingent
         PO Box 826761                                                Unliquidated
         Philadelphia, PA 19182-6761
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes




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3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Carolina Speech                                              Contingent
         130 Salem Town Court                                         Unliquidated
         Apex, NC 27502
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         CCI Door & Hardware Inc.                                     Contingent
         PO Box 19354                                                 Unliquidated
         Roanoke, VA 24019
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $133,501.78
         Centers for Medicare & Medicaid                              Contingent
         7500 Security Blvd.                                          Unliquidated
         Windsor Mill, MD 21244                                       Disputed
         Date(s) debt was incurred 2018-2020
                                                                   Basis for the claim: Medicare Overpayments
         Last 4 digits of account number 2426
                                                                   Is the claim subject to offset?     No       Yes

3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $63.00
         Century Link                                                 Contingent
         P.O. Box 1319                                                Unliquidated
         Charlotte, NC 28201-1319
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Cervey LLC                                                   Contingent
         408 Kay Lane                                                 Unliquidated
         Shreveport, LA 71115-3604
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $6,770.00
         Chase Agency Inc                                             Contingent
         809 Kentwood Drive                                           Unliquidated
         Youngstown, OH 44512
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Chatmoss                                                     Contingent
         315 Plantation Road                                          Unliquidated
         Martinsville, VA 24112
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes




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3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Chemsearch                                                   Contingent
         23261 Network Place                                          Unliquidated
         Chicago, IL 60673-1232
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Chiles Healthcare Consulting LLC                             Contingent
         1908 Maple Shade Lane                                        Unliquidated
         Richmond, VA 23227
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Chris Oswald                                                 Contingent
         115 Foxberry Lane                                            Unliquidated
         Danville, VA 24541
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         City of Martinsville Utility Dept.                           Contingent
         55 W. Church St.                                             Unliquidated
         Martinsville, VA 24112
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $5,948.00
         City of Martinsville, Virginia                               Contingent
                                                                      Unliquidated
         PO Box 1023
                                                                      Disputed
         Martinsville, VA 24114-1023
                                                                   Basis for the claim: Unknown
         Date(s) debt was incurred 2019 or prior
         Last 4 digits of account number Unknown                   Is the claim subject to offset?     No       Yes

3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Colonial Life                                                Contingent
         1201 Averyt Ave                                              Unliquidated
         Columbia, SC 29210-7654
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $357.00
         Comcast Communications                                       Contingent
         PO Box 70219                                                 Unliquidated
         Philadelphia, PA 19176-0219
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes




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3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $7,105.00
         Comfort Systems USA                                          Contingent
         1057 Bill Tuck Highway                                       Unliquidated
         South Boston, VA 24592
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $2,444.00
         Commonwealth Home Health Care, Inc.                          Contingent
         479 Piney Forest Road                                        Unliquidated
         Danville, VA 24540
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $1.00
         Community Funeral Home                                       Contingent
         109 Fontaine Drive                                           Unliquidated
         Ridgeway, VA 24148
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $27,015.00
         Consolidated Laundry Equipment                               Contingent
         530 Maywood Avenue                                           Unliquidated
         Raleigh, NC 27603
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $1.00
         Cozzini Bros., Inc.                                          Contingent
         350 Howard Avenue                                            Unliquidated
         Des Plaines, IL 60018
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $277.00
         CT Corporation                                               Contingent
         PO Box 4349                                                  Unliquidated
         Carol Stream, IL 60197-4349
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $6,080.00
         Curtis Bay Medical Waste Services                            Contingent
         1501 S Clinton St                                            Unliquidated
         Baltimore, MD 21224-5730
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes




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3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Daniel, Medley & Kirby, P.C.                                 Contingent
         110 North Union St                                           Unliquidated
         Danville, VA 24543
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Danville Pulmonary Clinic                                    Contingent
         142 S Main Street                                            Unliquidated
         Danville, VA 24541-2922
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Danville Register & Bee                                      Contingent
         700 Monument Street                                          Unliquidated
         Danville, VA 24541
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $4,266.00
         De Lage Landen Financial Services,                           Contingent
         PO Box 41602                                                 Unliquidated
         Philadelphia, PA 19101
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Dedicated Nursing Associates Inc.                            Contingent
         6536 William Penn Hwy, Rt 22                                 Unliquidated
         Delmont, PA 15626
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Dex Media, Inc.                                              Contingent
         PO Box 619009                                                Unliquidated
         Dallas, TX 75261
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Diamond Paper Co., Inc.                                      Contingent
         802 Monument Street                                          Unliquidated
         Danville, VA 24541
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes




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3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Dietitians on Demand Corporate                               Contingent
         Solutions LLC                                                Unliquidated
         7814 Carousel Lane, Suite 210
                                                                      Disputed
         Chase City, VA 23924
                                                                   Basis for the claim: Unknown
         Date(s) debt was incurred 2019 or prior
         Last 4 digits of account number Unknown                   Is the claim subject to offset?     No       Yes

3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $6,345.00
         E-Hounds, Inc.                                               Contingent
         32815 US 19 North, Suite 100                                 Unliquidated
         Palm Harbor, FL 34684
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $839.00
         E-Solutions                                                  Contingent
         WS #165                                                      Unliquidated
         PO Box 414378
                                                                      Disputed
         Kansas City, MO 64141-4378
                                                                   Basis for the claim: Unknown
         Date(s) debt was incurred 2019 or prior
         Last 4 digits of account number Unknown                   Is the claim subject to offset?     No       Yes

3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         EcoLab Pest Elimination                                      Contingent
         26252 Network Place                                          Unliquidated
         Chicago, IL 60673-1262
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $184.00
         EcoLab, Inc                                                  Contingent
         PO Box 32027                                                 Unliquidated
         New York, NY 10087
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Elevating Equipment Inspection Ser                           Contingent
         208 W Depot Street                                           Unliquidated
         Bedford, VA 24523
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $5,366.00
         Emerson Graham and Associates                                Contingent
         210 S Jefferson Street                                       Unliquidated
         Roanoke, VA 24011
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes




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3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $1.00
         Family Healthcare Center                                     Contingent
         142 S Main Street                                            Unliquidated
         Danville, VA 24541-2922
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $1.00
         Favero Family Medicine                                       Contingent
         2696 Greensboro Road                                         Unliquidated
         Martinsville, VA 24112-8106
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $1.00
         Fedex                                                        Contingent
         PO Box 660481                                                Unliquidated
         Dallas, TX 75266-0481
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.55     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $1.00
         Fidelity Power Systems                                       Contingent
         25 Loveton Circle                                            Unliquidated
         Sparks Glencoe, MD 21152
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.56     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $17,851.00
         Firestop of Virginia                                         Contingent
         263 Industrial Drive                                         Unliquidated
         Roanoke, VA 24019
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.57     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $156.00
         First Peidmont Corp                                          Contingent
                                                                      Unliquidated
         PO Box 1069
                                                                      Disputed
         Chatham, VA 24531
                                                                   Basis for the claim: Unknown
         Date(s) debt was incurred 2019 or prior
         Last 4 digits of account number Unknown                   Is the claim subject to offset?     No       Yes

3.58     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $1.00
         Flexential                                                   Contingent
         9417 Corporate Lake Drive                                    Unliquidated
         Tampa, FL 33634-2359
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes




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3.59     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         FN Wholesale Lighting & Supply LLC                           Contingent
         44 Kingston Drive #116                                       Unliquidated
         Daleville, VA 24083
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.60     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Fultz Maddox Dickens PLC                                     Contingent
         101 S Fifth Street, Suite 2700                               Unliquidated
         Louisville, KY 40202
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.61     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Genesis Rehabilitation Services                              Contingent
         101 E State Street                                           Unliquidated
         Kennett Square, PA 19348
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.62     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Greer's Exhaust & Kitchen Cleaning                           Contingent
         411 Walnut Avenue                                            Unliquidated
         Vinton, VA 24179
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.63     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Guardian                                                     Contingent
         P.O. Box 677458                                              Unliquidated
         Dallas, TX 75267
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.64     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $4,859.00
         H&M Electric & Construction Inc                              Contingent
         815 S Highland Avenue                                        Unliquidated
         Covington, VA 24426
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.65     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Handi-Clean Products, Inc.                                   Contingent
         301 S Swing Road                                             Unliquidated
         Greensboro, NC 27409-2009
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes




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3.66     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Handy John/Handy Rentals                                     Contingent
         13040 AL Philpott Hwy                                        Unliquidated
         Martinsville, VA 24112
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.67     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Healthcare Services Group, Inc.                              Contingent
         3220 Tillman Drive, Suite 300                                Unliquidated
         Bensalem, PA 19020
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.68     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Hill Barth & King LLC                                        Contingent
         6603 Summit Drive                                            Unliquidated
         Canfield, OH 44406
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.69     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Hines Funeral Services                                       Contingent
         903 Starling Avenue                                          Unliquidated
         Martinsville, VA 24112
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.70     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Interim Healthcare                                           Contingent
         3235 Virginia Avenue                                         Unliquidated
         Collinsville, VA 24078-2241
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.71     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1,206.00
         iStorage Naples                                              Contingent
         3836 Tollgate Blvd                                           Unliquidated
         Naples, FL 34114
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.72     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Jacob Law Firm PC                                            Contingent
         PO Box 884                                                   Unliquidated
         Martinsville, VA 24114
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes




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3.73     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         JC Ehrlich                                                   Contingent
         6701 Carmel Road, Suite 300                                  Unliquidated
         Charlotte, NC 28226-0205
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.74     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         JMS Group LLC                                                Contingent
         1600 A East Parham Road                                      Unliquidated
         Henrico, VA 23228
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.75     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $758.00
         Johnson Controls Fire Protection LP                          Contingent
         Dept CH 10320                                                Unliquidated
         Palatine, IL 60055-0320
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.76     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Kreider Mechanical, Inc.                                     Contingent
         1130 Patterson Ave.                                          Unliquidated
         Roanoke, VA 24017
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.77     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Land'OSun Dairies LLC                                        Contingent
         PO Box 60498                                                 Unliquidated
         Charlotte, NC 28260-0498
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.78     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $2,033.00
         Liberty Fire Solutions, Inc.                                 Contingent
         1645 Apperson Drive                                          Unliquidated
         Salem, VA 24153
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.79     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1,823.00
         Lifecare Medical Transports Inc.                             Contingent
         1170 International Pkwy                                      Unliquidated
         Fredericksburg, VA 22406
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes




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3.80     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $1.00
         Lincoln National Life Insurance Co                           Contingent
         8430 W Brynmawr                                              Unliquidated
         Chicago, IL 60631
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.81     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $1.00
         Lumos Networks                                               Contingent
         PO Box 580062                                                Unliquidated
         Charlotte, NC 28258-0062
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.82     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $662.00
         Martinsville Family Medicine                                 Contingent
         2696 Greensboro Road                                         Unliquidated
         Martinsville, VA 24112
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.83     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $1.00
         Martinsville Physicians Practices                            Contingent
         319 Hospital Drive, Suite 210                                Unliquidated
         Martinsville, VA 24112
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.84     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $1.00
         Martinsville Urgent Care LLC                                 Contingent
         PO Box 2671                                                  Unliquidated
         Loves Park, IL 61132
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.85     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $14,976.00
         McKeeson                                                     Contingent
         PO Box 204786                                                Unliquidated
         Dallas, TX 75320-4786
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.86     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $1.00
         Med-Pass Inc                                                 Contingent
         L-3495                                                       Unliquidated
         Columbus, OH 43260-0001
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes




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3.87     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $1.00
         Medical Equipment Services Inc.                              Contingent
         6242 Lake Terrace Drive                                      Unliquidated
         Holly Springs, NC 27540
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.88     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $27,951.00
         Medical Solutions LLC                                        Contingent
         1010 N 102nd Street, Suite 300                               Unliquidated
         Omaha, NE 68114
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.89     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $14,888.00
         Medline Industries, Inc.                                     Contingent
         PO Box 382075                                                Unliquidated
         Pittsburgh, PA 15251-8075
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.90     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $1.00
         Memorial Hospital                                            Contingent
         320 Hospital Drive                                           Unliquidated
         Martinsville, VA 24112-1900
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.91     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $1.00
         Midwest Motor Supply Co, Inc.                                Contingent
         4800 Roberts Road                                            Unliquidated
         Columbus, OH 43228
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.92     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $4,387.00
         MMI Holdings                                                 Contingent
         325 McGill Avenue, Suite 195                                 Unliquidated
         Concord, NC 28027
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.93     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $1.00
         Mobilex                                                      Contingent
         PO Box 17462                                                 Unliquidated
         Baltimore, MD 21297-0518
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes




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3.94     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Moses Cone Health System                                     Contingent
         PO Box 405541                                                Unliquidated
         Atlanta, GA 30384-5541
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.95     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         National Staffing Solutions                                  Contingent
         PO Box 9310                                                  Unliquidated
         Winter Haven, FL 33883
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.96     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Nelson, Bob                                                  Contingent
         505 Collingswood Drive                                       Unliquidated
         Winston Salem, NC 27127
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.97     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Neopost USA Inc.                                             Contingent
         PO Box 123689                                                Unliquidated
         Dallas, TX 75312-3689
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.98     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         New Tech Computer Systems LLC                                Contingent
         PO Box 51367                                                 Unliquidated
         Shreveport, LA 71135
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.99     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Norris Funeral Home                                          Contingent
         1500 Kings Mountain Road                                     Unliquidated
         Martinsville, VA 24112
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.100    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Payeezy                                                      Contingent
         5565 Glenridge Connector NE                                  Unliquidated
         Suite 2000
                                                                      Disputed
         Atlanta, GA 30342
                                                                   Basis for the claim: Unknown
         Date(s) debt was incurred 2019 or prior
         Last 4 digits of account number Unknown                   Is the claim subject to offset?     No       Yes




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3.101    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Penske Truck Leasing                                         Contingent
         P.O. Box 532658                                              Unliquidated
         Atlanta, GA 30353-2658
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.102    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Pet Dairy                                                    Contingent
         PO Box 60498                                                 Unliquidated
         Charlotte, NC 28260-0498
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.103    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $9,186.00
         Pharmacy Corporation of America                              Contingent
         PO Box 409251                                                Unliquidated
         Atlanta, GA 30384-9251
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.104    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Philadelphia Indemnity Insurance Co                          Contingent
         PO Box 731178                                                Unliquidated
         Dallas, TX 75373-1178
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.105    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Piedmont Urology Assoc In.                                   Contingent
         PO Box 25866                                                 Unliquidated
         Winston Salem, NC 27114
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.106    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Planning District One                                        Contingent
         Behavioral Health Service                                    Unliquidated
         PO Box 1130
                                                                      Disputed
         Norton, VA 24273
                                                                   Basis for the claim: Unknown
         Date(s) debt was incurred 2019 or prior
         Last 4 digits of account number Unknown                   Is the claim subject to offset?     No       Yes

3.107    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Plumbmaster, Inc.                                            Contingent
         PO Box 842370                                                Unliquidated
         Boston, MA 02284-2356
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes




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3.108    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Prime Care Technologies                                      Contingent
         6650 Sugarloaf Parkway, Suite 400                            Unliquidated
         Duluth, GA 30097
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.109    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $688.00
         Professional Rental Service                                  Contingent
         220 Frederick Street                                         Unliquidated
         Mount Airy, NC 27030
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.110    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $450.00
         Providence Transportation Service L                          Contingent
         PO Box 774                                                   Unliquidated
         Collinsville, VA 24078
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.111    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Quirk Design Build                                           Contingent
         Construction Co., LLC                                        Unliquidated
         74 Tensbury Drive
                                                                      Disputed
         Martinsville, VA 24112
                                                                   Basis for the claim: Unknown
         Date(s) debt was incurred 2019 or prior
         Last 4 digits of account number Unknown                   Is the claim subject to offset?     No       Yes

3.112    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         RehabCare Group East LLC                                     Contingent
         680 S Fourth Street                                          Unliquidated
         Louisville, KY 40202
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.113    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Republic Services #973                                       Contingent
         PO Box 9001099                                               Unliquidated
         Louisville, KY 40290-1099
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.114    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Ridgeway Signs & Trophies Inc                                Contingent
         6617 Greensboro Road                                         Unliquidated
         Ridgeway, VA 24148
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes




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3.115    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Roanoke Times                                                Contingent
         PO Box 26090                                                 Unliquidated
         Richmond, VA 23260-6090
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.116    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Robert B. Somers, PLLC                                       Contingent
         202 High Canyon Court                                        Unliquidated
         Richardson, TX 75080
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.117    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Robert Flinn Records Center                                  Contingent
         PO Box 12049                                                 Unliquidated
         Naples, FL 34101
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.118    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         S&K Office Products Inc.                                     Contingent
         PO Box 271                                                   Unliquidated
         Martinsville, VA 24112
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.119    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Shred-it USA                                                 Contingent
         28883 Network Place                                          Unliquidated
         Chicago, IL 60673-1288
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.120    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Smartlinx Solutions LLC                                      Contingent
         111 S Wood Avenue, Suite 400                                 Unliquidated
         Iselin, NJ 08830
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.121    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         SO LO Co., Inc.                                              Contingent
         915 E. Church St.                                            Unliquidated
         PO Box 5381
                                                                      Disputed
         Martinsville, VA 24115
                                                                   Basis for the claim: Unknown
         Date(s) debt was incurred 2019 or prior
         Last 4 digits of account number Unknown                   Is the claim subject to offset?     No       Yes




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            Name

3.122    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Solstas Lab Partners Group                                   Contingent
         PO Box 751337                                                Unliquidated
         Charlotte, NC 28275-1337
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.123    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Southside Community Services                                 Contingent
         143 Industrial Pkwy                                          Unliquidated
         Clarksville, VA 23927
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.124    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $3,386.00
         Southwestern Virginia Gas Company                            Contingent
         208 Lester Street                                            Unliquidated
         Martinsville, VA 24112
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.125    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Sovran Management Co, LLC                                    Contingent
         5692 Strand Court                                            Unliquidated
         Naples, FL 34110
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.126    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Specified Products, Inc.                                     Contingent
         3032 Trinkle Ave., NW                                        Unliquidated
         Roanoke, VA 24012
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.127    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Star2Star Communications, LLC                                Contingent
         600 Tallevast Rd., Suite 202                                 Unliquidated
         Sarasota, FL 34243
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.128    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Stericycle, Inc.                                             Contingent
         PO Box 6582                                                  Unliquidated
         Carol Stream, IL 60197-6582
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes




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3.129    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         SunLife Financial                                            Contingent
         PO Box 807009                                                Unliquidated
         Kansas City, MO 64184-7009
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.130    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $62.00
         Superior Medical Equipment                                   Contingent
         PO Box 15209                                                 Unliquidated
         Wilmington, NC 28408
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.131    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Symphony Diagnostic Services LLC                             Contingent
         PO Box 17462                                                 Unliquidated
         Baltimore, MD 21297-0518
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.132    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Talmadge Services                                            Contingent
         518 W Church Street                                          Unliquidated
         Martinsville, VA 24112
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.133    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $7,000,000.00
         The Estate of Charlotte Bane                                 Contingent
         c/o Steve A. Baker, Esq.
                                                                      Unliquidated
         1031 1st Street, SW
         Roanoke, VA 24016                                            Disputed

         Date(s) debt was incurred 11/2021                         Basis for the claim: Wrongful Death - Compensatory and Punitive
         Last 4 digits of account number N/A                       Damages
                                                                   Is the claim subject to offset?     No       Yes

3.134    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         The Moses H Cone Memorial Hospital                           Contingent
         PO Box 405541                                                Unliquidated
         Atlanta, GA 30384-5541
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.135    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         The Wright Consulting Group                                  Contingent
         PO Box 3188                                                  Unliquidated
         Roanoke, VA 24015
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes




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3.136    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         ThyssenKrupp Elevator Corp                                   Contingent
         PO Box 933004                                                Unliquidated
         Atlanta, GA 31193-3004
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.137    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Tommy House Etc, LLC                                         Contingent
         370 Sleeping Hills Farm Rd.                                  Unliquidated
         Martinsville, VA 24112
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.138    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1,700.00
         TridentUSA Mobile                                            Contingent
         Infusion Services LLC                                        Unliquidated
         PO Box 746350
                                                                      Disputed
         Atlanta, GA 30374
                                                                   Basis for the claim: Unknown
         Date(s) debt was incurred 2019 or prior
         Last 4 digits of account number Unknown                   Is the claim subject to offset?     No       Yes

3.139    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1,312.00
         Tucker Automation                                            Contingent
         11075 Parker Drive                                           Unliquidated
         Irwin, PA 15642
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.140    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         United Healthcare Insurance Co                               Contingent
         22703 Network Place                                          Unliquidated
         Chicago, IL 60673-1227
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.141    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Universal Chemical LLC                                       Contingent
         PO Box 15127                                                 Unliquidated
         Saint Louis, MO 63110
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.142    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
         Universal Inc.                                               Contingent
         32 Progress Parkway                                          Unliquidated
         Maryland Heights, MO 63043
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes




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3.143    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $38,997.00
         US Foods, Inc.                                               Contingent
         PO Box 602215                                                Unliquidated
         Charlotte, NC 28260-2215
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.144    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $1.00
         Vernon Family Dairy                                          Contingent
         PO Box 746496                                                Unliquidated
         Atlanta, GA 30374-6496
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.145    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $1.00
         Virginia Healthcare Association                              Contingent
         2112 W Laburnum Ave., Suite 206                              Unliquidated
         Richmond, VA 23227
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.146    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $151.00
         Virginia Prosthetics Inc.                                    Contingent
         4338 Williamson Road                                         Unliquidated
         Roanoke, VA 24012-2821
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.147    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                    $1.00
         Vista Clinical Diagnostics LLC                               Contingent
         4290 S Hwy 27, Suite 201                                     Unliquidated
         Clermont, FL 34711
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.148    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $835.00
         Wagner Food Equipment, Inc.                                  Contingent
         PO Box 7047                                                  Unliquidated
         Roanoke, VA 24019-0047
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.149    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $565.00
         Wake Forest University Baptist                               Contingent
         PO Box 751730                                                Unliquidated
         Charlotte, NC 28275
                                                                      Disputed
         Date(s) debt was incurred 2019 or prior
                                                                   Basis for the claim: Unknown
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes




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3.150     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
          Walker-Phillips                                              Contingent
          2707 Brambleton Ave, SW                                      Unliquidated
          Roanoke, VA 24015
                                                                       Disputed
          Date(s) debt was incurred 2019 or prior
                                                                    Basis for the claim: Unknown
          Last 4 digits of account number Unknown
                                                                    Is the claim subject to offset?     No       Yes

3.151     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
          Waste Industries                                             Contingent
          4621 Marracco Drive                                          Unliquidated
          Hope Mills, NC 28348
                                                                       Disputed
          Date(s) debt was incurred 2019 or prior
                                                                    Basis for the claim: Unknown
          Last 4 digits of account number Unknown
                                                                    Is the claim subject to offset?     No       Yes

3.152     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
          Waste Management                                             Contingent
          PO Box 4648                                                  Unliquidated
          Carol Stream, IL 60197-4648
                                                                       Disputed
          Date(s) debt was incurred 2019 or prior
                                                                    Basis for the claim: Unknown
          Last 4 digits of account number Unknown
                                                                    Is the claim subject to offset?     No       Yes

3.153     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
          Whitescarver Engineering Co.                                 Contingent
          PO Box 7566                                                  Unliquidated
          Roanoke, VA 24019
                                                                       Disputed
          Date(s) debt was incurred 2019 or prior
                                                                    Basis for the claim: Unknown
          Last 4 digits of account number Unknown
                                                                    Is the claim subject to offset?     No       Yes

3.154     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
          Wilco, Inc.                                                  Contingent
          PO Box 127                                                   Unliquidated
          Danville, VA 24543
                                                                       Disputed
          Date(s) debt was incurred 2019 or prior
                                                                    Basis for the claim: Unknown
          Last 4 digits of account number Unknown
                                                                    Is the claim subject to offset?     No       Yes

3.155     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
          Williams Mullen                                              Contingent
          PO Box 800                                                   Unliquidated
          Richmond, VA 23218-0800
                                                                       Disputed
          Date(s) debt was incurred 2019 or prior
                                                                    Basis for the claim: Unknown
          Last 4 digits of account number Unknown
                                                                    Is the claim subject to offset?     No       Yes

3.156     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                   $1.00
          Wright Funeral Home                                          Contingent
          1425 Greensboro Rd                                           Unliquidated
          Martinsville, VA 24112
                                                                       Disputed
          Date(s) debt was incurred 2019 or prior
                                                                    Basis for the claim: Unknown
          Last 4 digits of account number Unknown
                                                                    Is the claim subject to offset?     No       Yes



Part 3:      List Others to Be Notified About Unsecured Claims



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            Name

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                  related creditor (if any) listed?                account number, if
                                                                                                                                                   any
4.1       AFS of Martinsville, Inc.
          c/o Corporation Service Company                                                         Line     3.133
          1111 E Main Street, 16th Floor
                                                                                                         Not listed. Explain
          Richmond, VA 23219

4.2       Department of Treasury
          Bureau of Fiscal Service                                                                Line     3.19                                     2426
          PO Box 830794
                                                                                                         Not listed. Explain
          Birmingham, AL 35283

4.3       Kissito Healthcare Inc.
          c/o Corporation Service Company                                                         Line     3.133
          100 Shockoe Slip, Floor 2
                                                                                                         Not listed. Explain
          Richmond, VA 23219

4.4       OHI Asset (VA) Martinsville SNF LLC
          c/o CT Corporation System                                                               Line     3.133
          4701 Cox Rd, Suite 285
                                                                                                         Not listed. Explain
          Glen Allen, VA 23060

4.5       Omega Healthcare Investors, Inc.
          c/o The Corporation Trust Inc.                                                          Line     3.133
          2405 York Road, Suite 201
                                                                                                         Not listed. Explain
          Lutherville Timonium, MD 21093

4.6       Sovran Management Co., LLC
          c/o CT Corporation System                                                               Line     3.133
          4701 Cox Road, Suite 285
                                                                                                         Not listed. Explain
          Glen Allen, VA 23060

4.7       TACS, PC
          PO Box 31800                                                                            Line     2.1                                      8774
          Henrico, VA 23294
                                                                                                         Not listed. Explain

4.8       The Estate of Charlotte Bane
          c/o Joseph Musso, Esq.                                                                  Line     3.133
          8403 Colesville Road, Suite 1250
                                                                                                         Not listed. Explain
          Silver Spring, MD 20910


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                         5a.          $                     55,506.43
5b. Total claims from Part 2                                                                         5b.    +     $                  7,366,757.78

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                              5c.          $                    7,422,264.21




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Fill in this information to identify the case:

Debtor name       BRNURSCO, LLC

United States Bankruptcy Court for the:     WESTERN DISTRICT OF VIRGINIA

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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Fill in this information to identify the case:

Debtor name      BRNURSCO, LLC

United States Bankruptcy Court for the:    WESTERN DISTRICT OF VIRGINIA

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    AFS of                      5228 Valleypointe Parkway, Suite 1                        The Estate of                      D
          Martinsville, Inc.          Roanoke, VA 24019                                         Charlotte Bane                     E/F       3.133
                                                                                                                                   G




   2.2    BRALFCO, LLC                c/o Suzanne Roski, Receiver                               Centers for Medicare               D
                                      7229 Forest Avenue, Suite 102                             & Medicaid                         E/F       3.19
                                      Richmond, VA 23226
                                                                                                                                   G




   2.3    BRALFCO, LLC                c/o Suzanne Roski, Receiver                               Omega Healthcare                   D   2.1
                                      7229 Forest Avenue, Suite 102                             Investors                          E/F
                                      Richmond, VA 23226
                                                                                                                                   G




   2.4    BRVA Properties,            c/o Suzanne Roski, Receiver                               Omega Healthcare                   D   2.1
          LLC                         7229 Forest Avenue, Suite 102                             Investors                          E/F
                                      Richmond, VA 23226
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 2
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Debtor    BRNURSCO, LLC                                                           Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.5     BRVA Properties,         c/o Suzanne Roski, Receiver                         The Estate of                      D
          LLC                      7229 Forest Avenue, Suite 102                       Charlotte Bane                     E/F   3.133
                                   Richmond, VA 23226
                                                                                                                          G




  2.6     Kissito                  5228 Valleypointe Parkway, Suite 1                  The Estate of                      D
          Healthcare, Inc.         Roanoke, VA 24019                                   Charlotte Bane                     E/F   3.133
                                                                                                                          G




  2.7     OHI Asset (VA)           200 International Circle                            The Estate of                      D
          Martinsville SNF         Suite 3500                                          Charlotte Bane                     E/F   3.133
                                   Hunt Valley, MD 21030
                                                                                                                          G




  2.8     Omega                    303 International Circle, Suite 200                 The Estate of                      D
          Healthcare               Hunt Valley, MD 21030                               Charlotte Bane                     E/F   3.133
          Investors, Inc.
                                                                                                                          G




  2.9     Sovran                   1440 Centre Park Blvd, Suite 810                    The Estate of                      D
          Management               West Palm Beach, FL 33401                           Charlotte Bane                     E/F   3.133
          Company LLC
                                                                                                                          G




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 2 of 2
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Fill in this information to identify the case:

Debtor name         BRNURSCO, LLC

United States Bankruptcy Court for the:     WESTERN DISTRICT OF VIRGINIA

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                 04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,             Sources of revenue                          Gross revenue
      which may be a calendar year                                                     Check all that apply                        (before deductions and
                                                                                                                                   exclusions)
2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                       Description of sources of revenue           Gross revenue from
                                                                                                                                   each source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                  Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                       Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value         Reasons for payment or transfer
      Relationship to debtor




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Debtor       BRNURSCO, LLC                                                                      Case number (if known)



      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1.   CR3 Partners, LLC*                                    08/31/2022,                      $42,117.94           Services Rendered to the
             c/o Suzanne Roski, Receiver                           12/02/2022,                                           Receivership
             7229 Forest Avenue, Suite 102                         02/21/2023,
             Richmond, VA 23226                                    04/10/2023,                                           These payments were made on
             Receiver and Financial Advisors to                    05/24/2023,                                           behalf of BRVA Properties, LLC,
             Receiver                                              07/31/2023,                                           BRNURSCO, LLC, BRALFCO,
                                                                   08/08/2023                                            LLC and Sovran Senior Living,
                                                                                                                         LLC

                                                                                                                         *Although the Debtor has not
                                                                                                                         concluded that CR3 is an
                                                                                                                         insider as that term is defined
                                                                                                                         by the Bankruptcy Code, we are
                                                                                                                         disclosing 12 months of
                                                                                                                         distributions as a matter of
                                                                                                                         caution.

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case              Court or agency's name and                 Status of case
             Case number                                                           address
      7.1.   The Estate of Charlotte Bane              Wrongful Death              Martinsville Circuit Court                    Pending
             v. BRNURSCCO, LLC                                                     PO Box 1206                                   On appeal
             CL21-369-00                                                           Martinsville, VA 24114
                                                                                                                                 Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.




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Debtor        BRNURSCO, LLC                                                                      Case number (if known)



          None

      Custodian's name and Address                    Describe the property                                                    Value
      Suzanne Roski                                   Operating Cash Account
                                                                                                                                            $111,001.29
      In Her Capacity as Receiver
      7229 Forest Avenue, Suite 102                   Case title                                                               Court name and address
      Richmond, VA 23226                              OHI Asset v. BRVA Properties, Et. Al.                                    Martinsville Circuit
                                                      Case number                                                              Court
                                                      690 CL19-000193-00                                                       55 W Church Street
                                                      Date of order or assignment                                              Martinsville, VA 24114
                                                      Interim Order - 06/20/2019 - Final Order 07/23/2019


Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

              Recipient's name and address            Description of the gifts or contributions                  Dates given                        Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and            Amount of payments received for the loss                   Dates of loss          Value of property
      how the loss occurred                                                                                                                          lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received             If not money, describe any property transferred               Dates              Total amount or
               the transfer?                                                                                                                      value
               Address
      11.1.    Magee Goldstein Lasky &
               Sayers, P.C.
               Post Office Box 404
               Roanoke, VA 24003-0404                   Attorney Fees + Filing Fees                                   07/26/2023               $5,338.00

               Email or website address
               agoldstein@mglspc.com

               Who made the payment, if not debtor?




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Debtor        BRNURSCO, LLC                                                                     Case number (if known)



               Who was paid or who received              If not money, describe any property transferred               Dates                Total amount or
               the transfer?                                                                                                                         value
               Address
      11.2.                                              This payment was made on behalf of
               Frith Anderson & Peake, PC                BRVA Properties, LLC, BRNURSCO, LLC,
               PO Box 1240                               BRALFCO, LLC and Sovran Senior Living,
               Roanoke, VA 24006                         LLC                                                           05/12/2023                 $5,390.40

               Email or website address
               faplawfirm.com

               Who made the payment, if not debtor?




      11.3.    Frith Anderson & Peake, PC                This payment was made on behalf of
               PO Box 1240                               BRVA Properties, LLC, BRNURSCO, LLC
               Roanoke, VA 24006                         and Sovran Senior Living, LLC                                 07/31/2023                 $1,760.00

               Email or website address


               Who made the payment, if not debtor?




      11.4.    Frith Anderson & Peake, PC                This payment was made on behalf of
               PO Box 1240                               BRVA Properties, LLC, BRNURSCO, LLC
               Roanoke, VA 24006                         and Sovran Senior Living, LLC                                 08/08/2023                 $1,347.50

               Email or website address


               Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

         None.

      Name of trust or device                            Describe any property transferred                    Dates transfers               Total amount or
                                                                                                              were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

         None.

              Who received transfer?                   Description of property transferred or                    Date transfer              Total amount or
              Address                                  payments received or debts paid in exchange               was made                            value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


         Does not apply



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Debtor        BRNURSCO, LLC                                                                      Case number (if known)



                Address                                                                                             Dates of occupancy
                                                                                                                    From-To
      14.1.     300 Blue Ridge Street                                                                               Unknown to Present
                Martinsville, VA 24112

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address               Nature of the business operation, including type of services                If debtor provides meals
                                                        the debtor provides                                                         and housing, number of
                                                                                                                                    patients in debtor’s care

Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and            Last 4 digits of           Type of account or          Date account was                  Last balance
              Address                                   account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.




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         None

      Facility name and address                             Names of anyone with                  Description of the contents                   Does debtor
                                                            access to it                                                                        still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

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26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26a.1.        CR3 Partners, LLC                                                                                               07/2020 to Present
                    c/o Suzanne Roski, Receiver
                    7229 Forest Avenue, Suite 102
                    Richmond, VA 23226

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        CR3 Partners, LLC
                    c/o Suzanne Roski, Receiver
                    7229 Forest Avenue, Suite 102
                    Richmond, VA 23226

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      CR3 Partners, LLC                       c/o Suzanne Roski, Receiver                         Receiver                                  0
                                              7229 Forest Avenue, Suite 102
                                              Richmond, VA 23226


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?
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           No
           Yes. Identify below.

             Name and address of recipient        Amount of money or description and value of                Dates             Reason for
                                                  property                                                                     providing the value
      30.1                                                                                                                     Services
      .                                                                                                                        Rendered as
                                                                                                                               Receiver

                                                                                                                               These payments
                                                                                                                               were made on
                                                                                                                               behalf of BRVA
                                                                                                                               Properties, LLC,
                                                                                                                               BRNURSCO, LLC,
                                                                                                                               BRALFCO, LLC
                                                                                                                               and Sovran
                                                                                                                               Senior Living,
                                                                                                                               LLC

                                                                                                                               *Although the
                                                                                                                               Debtor has not
                                                                                                                               concluded that
                                                                                                                               CR3 is an insider
                                                                                                             08/31/2022,       as that term is
                                                                                                             12/02/2022,       defined by the
             CR3 Partners, LLC*                                                                              02/21/2023,       Bankruptcy Code,
             c/o Suzanne Roski, Receiver                                                                     04/10/2023,       we are disclosing
             7229 Forest Avenue, Suite                                                                       05/24/2023,       12 months of
             102                                                                                             07/31/2023,       distributions as a
             Richmond, VA 23226                   $42,117.94                                                 08/08/2023        matter of caution.

             Relationship to debtor
             Receiver


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                  Employer Identification number of the parent
                                                                                                   corporation
   BRVA Properties Holdings, LLC                                                                   EIN:        XX-XXXXXXX

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                        Employer Identification number of the pension
                                                                                                   fund




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Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         August 11, 2023

/s/ Suzanne Roski                                               Suzanne Roski
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   Receiver

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                             Western District of Virginia
 In re       BRNURSCO, LLC                                                                                    Case No.
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     5,338.00
             Prior to the filing of this statement I have received                                        $                     5,338.00
             Balance Due                                                                                  $                        0.00

2.   The source of the compensation paid to me was:

                  Debtor             Other (specify):

3.   The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. [Other provisions as needed]
             See Bankruptcy Engagement Agreement

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             See Bankruptcy Engagement Agreement
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     August 11, 2023                                                          /s/ Andrew S. Goldstein
     Date                                                                     Andrew S. Goldstein
                                                                              Signature of Attorney
                                                                              Magee Goldstein Lasky & Sayers, P.C.
                                                                              Post Office Box 404
                                                                              Roanoke, VA 24003-0404
                                                                              (540) 343-9800 Fax: (540) 343-9898
                                                                              agoldstein@mglspc.com
                                                                              Name of law firm
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                                               United States Bankruptcy Court
                                                      Western District of Virginia
 In re   BRNURSCO, LLC                                                                            Case No.
                                                                     Debtor(s)                    Chapter      7




                                   VERIFICATION OF CREDITOR MATRIX


I, the Receiver of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




Date:     August 11, 2023                                /s/ Suzanne Roski
                                                         Suzanne Roski/Receiver
                                                         Signer/Title
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                      BRNURSCO, LLC -


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                      ACCURATE HEALTHCARE INC.
                      493 CAVE ROAD
                      NASHVILLE, TN 37210


                      AD ART
                      PO BOX 40
                      BASSETT, VA 24055


                      ADVANTAGE HEALTHCARE LLC
                      8108 HUNTERS TRAIL
                      ROANOKE, VA 24019-6803


                      AFS OF MARTINSVILLE, INC.
                      C/O CORPORATION SERVICE COMPANY
                      1111 E MAIN STREET, 16TH FLOOR
                      RICHMOND, VA 23219


                      AFS OF MARTINSVILLE, INC.
                      5228 VALLEYPOINTE PARKWAY, SUITE 1
                      ROANOKE, VA 24019


                      ALL ABOUT YOU SENIOR CARE LLC
                      912 BROOKDALE STREET, SUITE 1
                      MARTINSVILLE, VA 24112


                      ALLIANCE ONE, LLC
                      (GLOBAL STAFFING SERVICES LLC)
                      PO BOX 152
                      BRATTLEBORO, VT 05301


                      ANTHEM BLUE CROSS & BLUE SHIELD
                      2015 STAPLES MILL ROAD
                      RICHMOND, VA 23230


                      ANTHROS
                      400 WEST MORSE BLVD., SUITE 203
                      WINTER PARK, FL 32789


                      ASHLEY-MCGEE CORP
                      23 HENRY STREET
                      MARTINSVILLE, VA 24112


                      BASSETT OFFICE SUPPLY
                      PO BOX 558
                      BASSETT, VA 24055
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                  BRNURSCO, LLC -



                  BERGER AND BURROW ENTERPRISES
                  6015 STAPLES MIL ROAD
                  HENRICO, VA 23228


                  BLUE RIDGE BEHAVIORAL HEALTHCARE
                  301 ELM AVE., SW
                  ROANOKE, VA 24016


                  BONE & JOINT CENTER OF MARTINSVILLE
                  319 HOSPITAL DRIVE
                  MARTINSVILLE, VA 24112-1928


                  BRALFCO, LLC
                  C/O SUZANNE ROSKI, RECEIVER
                  7229 FOREST AVENUE, SUITE 102
                  RICHMOND, VA 23226


                  BRIGGS CORPORATION
                  7300 WESTOWN PKWY
                  WEST DES MOINES, IA 50266


                  BRIGHTER DAY HEALTH LLC
                  4242 MEDICAL DRIVE, SUITE 7100
                  SAN ANTONIO, TX 78229-5397


                  BRVA PROPERTIES, LLC
                  C/O SUZANNE ROSKI, RECEIVER
                  7229 FOREST AVENUE, SUITE 102
                  RICHMOND, VA 23226


                  CAPITAL PREMIUM FINANCING INC.
                  12235 S 800 E
                  DRAPER, UT 84020


                  CARILION MEDICAL CENTER
                  PO BOX 826761
                  PHILADELPHIA, PA 19182-6761


                  CAROLINA SPEECH
                  130 SALEM TOWN COURT
                  APEX, NC 27502


                  CCI DOOR & HARDWARE INC.
                  PO BOX 19354
                  ROANOKE, VA 24019
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                  BRNURSCO, LLC -



                  CENTERS FOR MEDICARE & MEDICAID
                  7500 SECURITY BLVD.
                  WINDSOR MILL, MD 21244


                  CENTURY LINK
                  P.O. BOX 1319
                  CHARLOTTE, NC 28201-1319


                  CERVEY LLC
                  408 KAY LANE
                  SHREVEPORT, LA 71115-3604


                  CHASE AGENCY INC
                  809 KENTWOOD DRIVE
                  YOUNGSTOWN, OH 44512


                  CHATMOSS
                  315 PLANTATION ROAD
                  MARTINSVILLE, VA 24112


                  CHEMSEARCH
                  23261 NETWORK PLACE
                  CHICAGO, IL 60673-1232


                  CHILES HEALTHCARE CONSULTING LLC
                  1908 MAPLE SHADE LANE
                  RICHMOND, VA 23227


                  CHRIS OSWALD
                  115 FOXBERRY LANE
                  DANVILLE, VA 24541


                  CITY OF MARTINSVILLE UTILITY DEPT.
                  55 W. CHURCH ST.
                  MARTINSVILLE, VA 24112


                  CITY OF MARTINSVILLE, TREASURER
                  55 W CHURCH STREET, ROOM 101
                  MARTINSVILLE, VA 24112


                  CITY OF MARTINSVILLE, VIRGINIA
                  PO BOX 1023
                  MARTINSVILLE, VA 24114-1023
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                  BRNURSCO, LLC -



                  COLONIAL LIFE
                  1201 AVERYT AVE
                  COLUMBIA, SC 29210-7654


                  COMCAST COMMUNICATIONS
                  PO BOX 70219
                  PHILADELPHIA, PA 19176-0219


                  COMFORT SYSTEMS USA
                  1057 BILL TUCK HIGHWAY
                  SOUTH BOSTON, VA 24592


                  COMMONWEALTH HOME HEALTH CARE, INC.
                  479 PINEY FOREST ROAD
                  DANVILLE, VA 24540


                  COMMUNITY FUNERAL HOME
                  109 FONTAINE DRIVE
                  RIDGEWAY, VA 24148


                  CONSOLIDATED LAUNDRY EQUIPMENT
                  530 MAYWOOD AVENUE
                  RALEIGH, NC 27603


                  COZZINI BROS., INC.
                  350 HOWARD AVENUE
                  DES PLAINES, IL 60018


                  CT CORPORATION
                  PO BOX 4349
                  CAROL STREAM, IL 60197-4349


                  CURTIS BAY MEDICAL WASTE SERVICES
                  1501 S CLINTON ST
                  BALTIMORE, MD 21224-5730


                  DANIEL, MEDLEY & KIRBY, P.C.
                  110 NORTH UNION ST
                  DANVILLE, VA 24543


                  DANVILLE PULMONARY CLINIC
                  142 S MAIN STREET
                  DANVILLE, VA 24541-2922
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                  BRNURSCO, LLC -



                  DANVILLE REGISTER & BEE
                  700 MONUMENT STREET
                  DANVILLE, VA 24541


                  DE LAGE LANDEN FINANCIAL SERVICES,
                  PO BOX 41602
                  PHILADELPHIA, PA 19101


                  DEDICATED NURSING ASSOCIATES INC.
                  6536 WILLIAM PENN HWY, RT 22
                  DELMONT, PA 15626


                  DEPARTMENT OF TREASURY
                  BUREAU OF FISCAL SERVICE
                  PO BOX 830794
                  BIRMINGHAM, AL 35283


                  DEX MEDIA, INC.
                  PO BOX 619009
                  DALLAS, TX 75261


                  DIAMOND PAPER CO., INC.
                  802 MONUMENT STREET
                  DANVILLE, VA 24541


                  DIETITIANS ON DEMAND CORPORATE
                  SOLUTIONS LLC
                  7814 CAROUSEL LANE, SUITE 210
                  CHASE CITY, VA 23924


                  E-HOUNDS, INC.
                  32815 US 19 NORTH, SUITE 100
                  PALM HARBOR, FL 34684


                  E-SOLUTIONS
                  WS #165
                  PO BOX 414378
                  KANSAS CITY, MO 64141-4378


                  ECOLAB PEST ELIMINATION
                  26252 NETWORK PLACE
                  CHICAGO, IL 60673-1262
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                  BRNURSCO, LLC -



                  ECOLAB, INC
                  PO BOX 32027
                  NEW YORK, NY 10087


                  ELEVATING EQUIPMENT INSPECTION SER
                  208 W DEPOT STREET
                  BEDFORD, VA 24523


                  EMERSON GRAHAM AND ASSOCIATES
                  210 S JEFFERSON STREET
                  ROANOKE, VA 24011


                  FAMILY HEALTHCARE CENTER
                  142 S MAIN STREET
                  DANVILLE, VA 24541-2922


                  FAVERO FAMILY MEDICINE
                  2696 GREENSBORO ROAD
                  MARTINSVILLE, VA 24112-8106


                  FEDEX
                  PO BOX 660481
                  DALLAS, TX 75266-0481


                  FIDELITY POWER SYSTEMS
                  25 LOVETON CIRCLE
                  SPARKS GLENCOE, MD 21152


                  FIRESTOP OF VIRGINIA
                  263 INDUSTRIAL DRIVE
                  ROANOKE, VA 24019


                  FIRST PEIDMONT CORP
                  PO BOX 1069
                  CHATHAM, VA 24531


                  FLEXENTIAL
                  9417 CORPORATE LAKE DRIVE
                  TAMPA, FL 33634-2359


                  FN WHOLESALE LIGHTING & SUPPLY LLC
                  44 KINGSTON DRIVE #116
                  DALEVILLE, VA 24083
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                  BRNURSCO, LLC -



                  FULTZ MADDOX DICKENS PLC
                  101 S FIFTH STREET, SUITE 2700
                  LOUISVILLE, KY 40202


                  GENESIS REHABILITATION SERVICES
                  101 E STATE STREET
                  KENNETT SQUARE, PA 19348


                  GREER'S EXHAUST & KITCHEN CLEANING
                  411 WALNUT AVENUE
                  VINTON, VA 24179


                  GUARDIAN
                  P.O. BOX 677458
                  DALLAS, TX 75267


                  H&M ELECTRIC & CONSTRUCTION INC
                  815 S HIGHLAND AVENUE
                  COVINGTON, VA 24426


                  HANDI-CLEAN PRODUCTS, INC.
                  301 S SWING ROAD
                  GREENSBORO, NC 27409-2009


                  HANDY JOHN/HANDY RENTALS
                  13040 AL PHILPOTT HWY
                  MARTINSVILLE, VA 24112


                  HEALTHCARE SERVICES GROUP, INC.
                  3220 TILLMAN DRIVE, SUITE 300
                  BENSALEM, PA 19020


                  HILL BARTH & KING LLC
                  6603 SUMMIT DRIVE
                  CANFIELD, OH 44406


                  HINES FUNERAL SERVICES
                  903 STARLING AVENUE
                  MARTINSVILLE, VA 24112


                  INTERIM HEALTHCARE
                  3235 VIRGINIA AVENUE
                  COLLINSVILLE, VA 24078-2241
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                  BRNURSCO, LLC -



                  ISTORAGE NAPLES
                  3836 TOLLGATE BLVD
                  NAPLES, FL 34114


                  JACOB LAW FIRM PC
                  PO BOX 884
                  MARTINSVILLE, VA 24114


                  JC EHRLICH
                  6701 CARMEL ROAD, SUITE 300
                  CHARLOTTE, NC 28226-0205


                  JMS GROUP LLC
                  1600 A EAST PARHAM ROAD
                  HENRICO, VA 23228


                  JOHNSON CONTROLS FIRE PROTECTION LP
                  DEPT CH 10320
                  PALATINE, IL 60055-0320


                  KISSITO HEALTHCARE INC.
                  C/O CORPORATION SERVICE COMPANY
                  100 SHOCKOE SLIP, FLOOR 2
                  RICHMOND, VA 23219


                  KISSITO HEALTHCARE, INC.
                  5228 VALLEYPOINTE PARKWAY, SUITE 1
                  ROANOKE, VA 24019


                  KREIDER MECHANICAL, INC.
                  1130 PATTERSON AVE.
                  ROANOKE, VA 24017


                  LAND'OSUN DAIRIES LLC
                  PO BOX 60498
                  CHARLOTTE, NC 28260-0498


                  LIBERTY FIRE SOLUTIONS, INC.
                  1645 APPERSON DRIVE
                  SALEM, VA 24153


                  LIFECARE MEDICAL TRANSPORTS INC.
                  1170 INTERNATIONAL PKWY
                  FREDERICKSBURG, VA 22406
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                  BRNURSCO, LLC -



                  LINCOLN NATIONAL LIFE INSURANCE CO
                  8430 W BRYNMAWR
                  CHICAGO, IL 60631


                  LUMOS NETWORKS
                  PO BOX 580062
                  CHARLOTTE, NC 28258-0062


                  MARTINSVILLE FAMILY MEDICINE
                  2696 GREENSBORO ROAD
                  MARTINSVILLE, VA 24112


                  MARTINSVILLE PHYSICIANS PRACTICES
                  319 HOSPITAL DRIVE, SUITE 210
                  MARTINSVILLE, VA 24112


                  MARTINSVILLE URGENT CARE LLC
                  PO BOX 2671
                  LOVES PARK, IL 61132


                  MCKEESON
                  PO BOX 204786
                  DALLAS, TX 75320-4786


                  MED-PASS INC
                  L-3495
                  COLUMBUS, OH 43260-0001


                  MEDICAL EQUIPMENT SERVICES INC.
                  6242 LAKE TERRACE DRIVE
                  HOLLY SPRINGS, NC 27540


                  MEDICAL SOLUTIONS LLC
                  1010 N 102ND STREET, SUITE 300
                  OMAHA, NE 68114


                  MEDLINE INDUSTRIES, INC.
                  PO BOX 382075
                  PITTSBURGH, PA 15251-8075


                  MEMORIAL HOSPITAL
                  320 HOSPITAL DRIVE
                  MARTINSVILLE, VA 24112-1900
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                  BRNURSCO, LLC -



                  MIDWEST MOTOR SUPPLY CO, INC.
                  4800 ROBERTS ROAD
                  COLUMBUS, OH 43228


                  MMI HOLDINGS
                  325 MCGILL AVENUE, SUITE 195
                  CONCORD, NC 28027


                  MOBILEX
                  PO BOX 17462
                  BALTIMORE, MD 21297-0518


                  MOSES CONE HEALTH SYSTEM
                  PO BOX 405541
                  ATLANTA, GA 30384-5541


                  NATIONAL STAFFING SOLUTIONS
                  PO BOX 9310
                  WINTER HAVEN, FL 33883


                  NELSON, BOB
                  505 COLLINGSWOOD DRIVE
                  WINSTON SALEM, NC 27127


                  NEOPOST USA INC.
                  PO BOX 123689
                  DALLAS, TX 75312-3689


                  NEW TECH COMPUTER SYSTEMS LLC
                  PO BOX 51367
                  SHREVEPORT, LA 71135


                  NORRIS FUNERAL HOME
                  1500 KINGS MOUNTAIN ROAD
                  MARTINSVILLE, VA 24112


                  OHI ASSET (VA) MARTINSVILLE SNF
                  200 INTERNATIONAL CIRCLE
                  SUITE 3500
                  HUNT VALLEY, MD 21030


                  OHI ASSET (VA) MARTINSVILLE SNF LLC
                  C/O CT CORPORATION SYSTEM
                  4701 COX RD, SUITE 285
                  GLEN ALLEN, VA 23060
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                  BRNURSCO, LLC -



                  OMEGA HEALTHCARE INVESTORS
                  303 INTERNATIONAL CIRCLE, SUITE 200
                  COCKEYSVILLE, MD 21030


                  OMEGA HEALTHCARE INVESTORS, INC.
                  C/O THE CORPORATION TRUST INC.
                  2405 YORK ROAD, SUITE 201
                  LUTHERVILLE TIMONIUM, MD 21093


                  OMEGA HEALTHCARE INVESTORS, INC.
                  303 INTERNATIONAL CIRCLE, SUITE 200
                  HUNT VALLEY, MD 21030


                  PAYEEZY
                  5565 GLENRIDGE CONNECTOR NE
                  SUITE 2000
                  ATLANTA, GA 30342


                  PENSKE TRUCK LEASING
                  P.O. BOX 532658
                  ATLANTA, GA 30353-2658


                  PET DAIRY
                  PO BOX 60498
                  CHARLOTTE, NC 28260-0498


                  PHARMACY CORPORATION OF AMERICA
                  PO BOX 409251
                  ATLANTA, GA 30384-9251


                  PHILADELPHIA INDEMNITY INSURANCE CO
                  PO BOX 731178
                  DALLAS, TX 75373-1178


                  PIEDMONT UROLOGY ASSOC IN.
                  PO BOX 25866
                  WINSTON SALEM, NC 27114


                  PLANNING DISTRICT ONE
                  BEHAVIORAL HEALTH SERVICE
                  PO BOX 1130
                  NORTON, VA 24273
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                  BRNURSCO, LLC -



                  PLUMBMASTER, INC.
                  PO BOX 842370
                  BOSTON, MA 02284-2356


                  PRIME CARE TECHNOLOGIES
                  6650 SUGARLOAF PARKWAY, SUITE 400
                  DULUTH, GA 30097


                  PROFESSIONAL RENTAL SERVICE
                  220 FREDERICK STREET
                  MOUNT AIRY, NC 27030


                  PROVIDENCE TRANSPORTATION SERVICE L
                  PO BOX 774
                  COLLINSVILLE, VA 24078


                  QUIRK DESIGN BUILD
                  CONSTRUCTION CO., LLC
                  74 TENSBURY DRIVE
                  MARTINSVILLE, VA 24112


                  REHABCARE GROUP EAST LLC
                  680 S FOURTH STREET
                  LOUISVILLE, KY 40202


                  REPUBLIC SERVICES #973
                  PO BOX 9001099
                  LOUISVILLE, KY 40290-1099


                  RIDGEWAY SIGNS & TROPHIES INC
                  6617 GREENSBORO ROAD
                  RIDGEWAY, VA 24148


                  ROANOKE TIMES
                  PO BOX 26090
                  RICHMOND, VA 23260-6090


                  ROBERT B. SOMERS, PLLC
                  202 HIGH CANYON COURT
                  RICHARDSON, TX 75080


                  ROBERT FLINN RECORDS CENTER
                  PO BOX 12049
                  NAPLES, FL 34101
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                  BRNURSCO, LLC -



                  S&K OFFICE PRODUCTS INC.
                  PO BOX 271
                  MARTINSVILLE, VA 24112


                  SHRED-IT USA
                  28883 NETWORK PLACE
                  CHICAGO, IL 60673-1288


                  SMARTLINX SOLUTIONS LLC
                  111 S WOOD AVENUE, SUITE 400
                  ISELIN, NJ 08830


                  SO LO CO., INC.
                  915 E. CHURCH ST.
                  PO BOX 5381
                  MARTINSVILLE, VA 24115


                  SOLSTAS LAB PARTNERS GROUP
                  PO BOX 751337
                  CHARLOTTE, NC 28275-1337


                  SOUTHSIDE COMMUNITY SERVICES
                  143 INDUSTRIAL PKWY
                  CLARKSVILLE, VA 23927


                  SOUTHWESTERN VIRGINIA GAS COMPANY
                  208 LESTER STREET
                  MARTINSVILLE, VA 24112


                  SOVRAN MANAGEMENT CO, LLC
                  5692 STRAND COURT
                  NAPLES, FL 34110


                  SOVRAN MANAGEMENT CO., LLC
                  C/O CT CORPORATION SYSTEM
                  4701 COX ROAD, SUITE 285
                  GLEN ALLEN, VA 23060


                  SOVRAN MANAGEMENT COMPANY LLC
                  1440 CENTRE PARK BLVD, SUITE 810
                  WEST PALM BEACH, FL 33401


                  SPECIFIED PRODUCTS, INC.
                  3032 TRINKLE AVE., NW
                  ROANOKE, VA 24012
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                  BRNURSCO, LLC -



                  STAR2STAR COMMUNICATIONS, LLC
                  600 TALLEVAST RD., SUITE 202
                  SARASOTA, FL 34243


                  STERICYCLE, INC.
                  PO BOX 6582
                  CAROL STREAM, IL 60197-6582


                  SUNLIFE FINANCIAL
                  PO BOX 807009
                  KANSAS CITY, MO 64184-7009


                  SUPERIOR MEDICAL EQUIPMENT
                  PO BOX 15209
                  WILMINGTON, NC 28408


                  SYMPHONY DIAGNOSTIC SERVICES LLC
                  PO BOX 17462
                  BALTIMORE, MD 21297-0518


                  TACS, PC
                  PO BOX 31800
                  HENRICO, VA 23294


                  TALMADGE SERVICES
                  518 W CHURCH STREET
                  MARTINSVILLE, VA 24112


                  THE ESTATE OF CHARLOTTE BANE
                  C/O STEVE A. BAKER, ESQ.
                  1031 1ST STREET, SW
                  ROANOKE, VA 24016


                  THE ESTATE OF CHARLOTTE BANE
                  C/O JOSEPH MUSSO, ESQ.
                  8403 COLESVILLE ROAD, SUITE 1250
                  SILVER SPRING, MD 20910


                  THE MOSES H CONE MEMORIAL HOSPITAL
                  PO BOX 405541
                  ATLANTA, GA 30384-5541


                  THE WRIGHT CONSULTING GROUP
                  PO BOX 3188
                  ROANOKE, VA 24015
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                  BRNURSCO, LLC -



                  THYSSENKRUPP ELEVATOR CORP
                  PO BOX 933004
                  ATLANTA, GA 31193-3004


                  TOMMY HOUSE ETC, LLC
                  370 SLEEPING HILLS FARM RD.
                  MARTINSVILLE, VA 24112


                  TRIDENTUSA MOBILE
                  INFUSION SERVICES LLC
                  PO BOX 746350
                  ATLANTA, GA 30374


                  TUCKER AUTOMATION
                  11075 PARKER DRIVE
                  IRWIN, PA 15642


                  UNITED HEALTHCARE INSURANCE CO
                  22703 NETWORK PLACE
                  CHICAGO, IL 60673-1227


                  UNIVERSAL CHEMICAL LLC
                  PO BOX 15127
                  SAINT LOUIS, MO 63110


                  UNIVERSAL INC.
                  32 PROGRESS PARKWAY
                  MARYLAND HEIGHTS, MO 63043


                  US FOODS, INC.
                  PO BOX 602215
                  CHARLOTTE, NC 28260-2215


                  VERNON FAMILY DAIRY
                  PO BOX 746496
                  ATLANTA, GA 30374-6496


                  VIRGINIA HEALTHCARE ASSOCIATION
                  2112 W LABURNUM AVE., SUITE 206
                  RICHMOND, VA 23227


                  VIRGINIA PROSTHETICS INC.
                  4338 WILLIAMSON ROAD
                  ROANOKE, VA 24012-2821
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                  BRNURSCO, LLC -



                  VISTA CLINICAL DIAGNOSTICS LLC
                  4290 S HWY 27, SUITE 201
                  CLERMONT, FL 34711


                  WAGNER FOOD EQUIPMENT, INC.
                  PO BOX 7047
                  ROANOKE, VA 24019-0047


                  WAKE FOREST UNIVERSITY BAPTIST
                  PO BOX 751730
                  CHARLOTTE, NC 28275


                  WALKER-PHILLIPS
                  2707 BRAMBLETON AVE, SW
                  ROANOKE, VA 24015


                  WASTE INDUSTRIES
                  4621 MARRACCO DRIVE
                  HOPE MILLS, NC 28348


                  WASTE MANAGEMENT
                  PO BOX 4648
                  CAROL STREAM, IL 60197-4648


                  WHITESCARVER ENGINEERING CO.
                  PO BOX 7566
                  ROANOKE, VA 24019


                  WILCO, INC.
                  PO BOX 127
                  DANVILLE, VA 24543


                  WILLIAMS MULLEN
                  PO BOX 800
                  RICHMOND, VA 23218-0800


                  WRIGHT FUNERAL HOME
                  1425 GREENSBORO RD
                  MARTINSVILLE, VA 24112
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                                        United States Bankruptcy Court
                                              Western District of Virginia
 In re   BRNURSCO, LLC                                                                Case No.
                                                           Debtor(s)                  Chapter    7




                            CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for BRNURSCO, LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




August 11, 2023                                /s/ Andrew S. Goldstein
Date                                           Andrew S. Goldstein
                                               Signature of Attorney or Litigant
                                               Counsel for BRNURSCO, LLC
                                               Magee Goldstein Lasky & Sayers, P.C.
                                               Post Office Box 404
                                               Roanoke, VA 24003-0404
                                               (540) 343-9800 Fax:(540) 343-9898
                                               agoldstein@mglspc.com
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                                       United States Bankruptcy Court
                                            Western District of Virginia
 In re   BRNURSCO, LLC                                                            Case No.
                                                         Debtor(s)                Chapter    7



         STATEMENT REGARDING AUTHORITY TO SIGN AND FILE PETITION

        I, Suzanne Roski, declare under penalty of perjury that I am the Receiver of BRNURSCO, LLC, and that the
following is a true and correct copy of the resolutions adopted by the Board of Directors of said corporation at a
special meeting duly called and held on the 11th day of August, 2023.

      "Whereas, it is in the best interest of this corporation to file a voluntary petition in the United States
Bankruptcy Court pursuant to Chapter 7 of Title 11 of the United States Code;

       Be It Therefore Resolved, that Suzanne Roski, Receiver of this Corporation, is authorized and directed to
execute and deliver all documents necessary to perfect the filing of a chapter 7 voluntary bankruptcy case on
behalf of the corporation; and

       Be It Further Resolved, that Suzanne Roski, Receiver of this Corporation is authorized and directed to
appear in all bankruptcy proceedings on behalf of the corporation, and to otherwise do and perform all acts and
deeds and to execute and deliver all necessary documents on behalf of the corporation in connection with such
bankruptcy case, and

       Be It Further Resolved, that Suzanne Roski, Receiver of this Corporation is authorized and directed to
employ Andrew S. Goldstein, attorney and the law firm of Magee Goldstein Lasky & Sayers, P.C. to represent the
corporation in such bankruptcy case."

Date     August 11, 2023                               Signed /s/ Suzanne Roski
                                                                Suzanne Roski
          Case 23-60873        Doc 1     Filed 08/11/23 Entered 08/11/23 12:28:37             Desc Main
                                          Document     Page 69 of 69

                                         Resolution of Board of Directors
                                                        of
                                                  BRNURSCO, LLC




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Date   August 11, 2023                                 Signed    /s/Suzanne Roski
